










Opinion issued March 25, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–03–01207–CV




HAROLD L. FOREST, III AND SUSAN FOREST, INDIVIDUALLY AND
A/N/F OF THEIR MINOR CHILDREN, D.F., K.F., AND J.F., Appellants

V.

HERMAN E. YOUNG, Appellee




On Appeal from the 280th District Court
Harris County, Texas
Trial Court Cause No. 2002-36152




MEMORANDUM OPINIONAppellants Harold L.Forest, III and Susan Forest, Individually and a/n/f of their
minor children, D.F., K.F., and J.F., have failed to timely file a brief.  See Tex. R.
App. P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal
was subject to dismissal, appellants Harold L. Forest, III and Susan Forest,
Individually and a/n/f of their Minor Children, D.F., K.F., and J.F., did not adequately
respond.  See Tex. R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Hanks.


